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                  EXHIBIT 9
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                         Gerard F. Cervantes

  1                    UNITED STATES DISTRICT COURT
  2                 NORTHERN DISTRICT OF CALIFORNIA
  3

  4    IN RE: ROUNDUP PRODUCTS                ) MDL No. 2741
  5    LIABILITY LITIGATION                   ) Case No. MDL No.
  6    -------------------------              ) 3:16-md-02741-VC
  7    This document relates to:              )
  8    Gerard Cervantes v.                    )
  9    Monsanto Co.,                          )
10     Case No. 3:19-cv-03015-VC              )
11

12

13                       VIDEOTAPED DEPOSITION OF
14

15                            GERARD F. CERVANTES
16                                June 23, 2020
17

18                             Chicago, Illinois
19

20

21

22                      GOLKOW LITIGATION SERVICES

                   877.370.3377 ph | 917.591.5672 fax
23                              deps@golkow.com
24

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                         Gerard F. Cervantes

  1

  2

  3                  The videotaped deposition of
  4    GERARD F. CERVANTES, called by the Defendant for
  5    examination, taken pursuant to the Federal Rules of
  6    Civil Procedure of the United States District
  7    Courts pertaining to the taking of depositions,
  8    taken before CORINNE T. MARUT, C.S.R. No. 84-1968,
  9    Registered Professional Reporter and a Certified
10     Shorthand Reporter of the State of Illinois, at the
11     Hyatt Place, 28 North Franklin Street, Chicago,
12     Illinois, on June 23, 2020, commencing at 8:55 a.m.
13

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                         Gerard F. Cervantes

  1    APPEARANCES:
  2    ON BEHALF OF THE PLAINTIFF:
  3            MOLL LAW GROUP
               22 West Washington Street, 15th Floor
  4            Chicago, Illinois        60602
               312-462-1700
  5            BY:   REBECCA FREDONA, ESQ.
                     rfredona@molllawgroup.com
  6
  7
  8    ON BEHALF OF THE DEFENDANT:
  9            SHOOK, HARDY & BACON L.L.P.
               JPMorgan Chase Tower
10             600 Travis Street, Suite 3400
               Houston, Texas       77002-2926
11             713-227-8008
               BY:   JAMES SHEPHERD, ESQ.
12                   eshepherd@shb.com
13
14
15
16
17     VIDEOTAPED BY:       MILO SAVICH
18
19     REPORTED BY:      CORINNE T. MARUT, C.S.R. No. 84-1968
20
21
22
23
24

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                         Gerard F. Cervantes

  1                                I N D E X
  2    GERARD F. CERVANTES                                EXAMINATION
  3            BY MR. SHEPHERD...............                6
               BY MS. FREDONA................             234
  4            BY MR. SHEPHERD...............             247
               BY MS. FREDONA................             255
  5
  6
  7
  8                             E X H I B I T S
  9    G. CERVANTES DEPOSITION EXHIBIT                    MARKED FOR ID
10      No. 1        Defendant Monsanto Company's                       16
                     Fifth Amended Notice to Take
11                   Oral and Videotaped Deposition
                     of Plaintiff Gerard Cervantes
12

        No. 2        4/22/16 medical record;                            39
13                   Confidential-Cervantes-
                     GCervantes-DreyerMC-MD-000105
14                   through 000107
15      No. 3        5/25/16 medical record;                            42
                     Confidential-Cervantes-
16                   GCervantes-DreyerMC-MD-000108
17      No. 4        Roundup ready-to-use label                        123
18      No. 5        Roundup Pro label                                 125
19      No. 6        8/7/19 letter from US EPA                         201
20      No. 7        Plaintiff Fact Sheet                              214
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24

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                         Gerard F. Cervantes

  1          THE VIDEOGRAPHER:         We are now on the record.
  2    My name is Milo Savich, and I am a videographer for
  3    Golkow Litigation Services.
  4                  Today's date is June 23, 2020, and the
  5    time is 8:55 a.m.
  6                  This video deposition is being held in
  7    Chicago, Illinois, in the matter of Roundup, Gerard
  8    Cervantes vs. Monsanto.          This case is being heard
  9    in the United States District Court, Northern
10     District of California.
11                   The deponent is Gerard Cervantes.
12                   Will counsel please identify themselves
13     for the record.
14           MS. FREDONA:       Rebecca Fredona on behalf of
15     Plaintiff.
16           MR. SHEPHERD:        James Shepherd on behalf of
17     Defendant, Monsanto Company.
18           THE VIDEOGRAPHER:         The Court Reporter is Corey
19     Marut who will now swear in the witness and we may
20     then proceed.
21                         (WHEREUPON, the witness was duly
22                          sworn.)
23           MR. SHEPHERD:        I just note for the record that
24     Monsanto continues to receive records from medical

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                         Gerard F. Cervantes

  1    providers who have treated Mr. Cervantes as well as
  2    other types of records.          Monsanto, therefore,
  3    reserves its rights to continue the deposition past
  4    today's date based on additional records being
  5    available.
  6          MS. FREDONA:       We'd like to put an objection to
  7    that on the record as well.
  8                         GERARD F. CERVANTES,
  9    called as a witness herein, having been first duly
10     sworn, was examined and testified as follows:
11                                EXAMINATION
12     BY MR. SHEPHERD:
13           Q.      Good morning, Mr. Cervantes.
14           A.      Good morning.
15           Q.      How are you today?
16           A.      Real good.
17           Q.      Could you please state your full name
18     for the record.
19           A.      Gerard F. Cervantes.
20           Q.      What's the "F" stand for?
21           A.      Francis.
22           Q.      What's your home address?
23           A.
24

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                           Gerard F. Cervantes

  1          A.      Simmons Middle School.
  2          Q.      Where did you attend high school?
  3          A.      East Aurora High School.
  4          Q.      And did you graduate from there?
  5          A.      Yes.
  6          Q.      What year?
  7          A.      1977.
  8          Q.      Did you attend college or technical
  9    school after high school?
10           A.      No.
11           Q.      Do you hold any other -- any degrees or
12     certifications?
13           A.      No.
14           Q.      Do you have any medical training?
15           A.      No.
16           Q.      Any legal training?
17           A.      No.
18           Q.      Have you ever testified at trial before?
19           A.      No.
20           Q.      Have you ever been involved in a civil
21     lawsuit prior to this one, either as a Plaintiff or
22     as a Defendant?
23           A.      Yes.
24           Q.      Okay.     When was that?

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                           Gerard F. Cervantes

  1                  Let me ask you this.          How many?      Is it
  2    just one?
  3          A.      One.
  4          Q.      Okay.     And when was that?
  5          A.      Let me think of the date.            I'm thinking
  6    around 2006.
  7          Q.      And what was the nature of that lawsuit?
  8          A.      Water was the nature of the lawsuit, and
  9    it was a class action suit.
10           Q.      Okay.     What were the allegations that
11     you recall?
12           A.      That there was not a backflow system in
13     the boiler area of the water.
14           Q.      Is this in your home?
15           A.      No.    At Nicor Gas Company.
16           Q.      You were a Plaintiff I'm assuming?
17           A.      Yes.     My name was in there on the class
18     action.
19           Q.      Do you know where the case was filed?
20     Was it in State Court, Federal Court?
21           A.      I do not know because I was not the
22     person that I guess spearheaded it, but it never
23     went anywhere.
24           Q.      It was -- this case was ultimately

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                           Gerard F. Cervantes

 1    dismissed?
 2           A.      Yes.    To my knowledge.
 3           Q.      And you didn't give a deposition or any
 4    trial testimony in that case?
 5           A.      No.
 6           Q.      Did you give a statement of any kind, a
 7    written statement or a statement to attorneys?
 8           A.      When I had talked to an attorney, it was
 9    class action; and they just asked how I -- how long
10    I worked there and --
11           Q.      But you didn't make a sworn statement,
12    either written in or verbally, that was submitted
13    to the Court about circumstances or anything like
14    that?
15           A.      No.    It was just my name was added to
16    it.
17           Q.      Okay.
18           A.      And there were other people that I guess
19    spearheaded it and did all -- took it to the --
20           Q.      And what was the -- what was the injury,
21    I guess, as a result of there not being a backup on
22    the flow system at Nicor?
23           A.      That people were getting sick.
24           Q.      Do you know any specific type of

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                         Gerard F. Cervantes

 1    sickness that they were alleging they got?
 2           A.      It was a range.
 3           Q.      Okay.    What was the sickness that you
 4    alleged that you had?
 5           A.      Cancer.
 6           Q.      And that was your NHL cancer?
 7           A.      Yes.
 8           Q.      And as a result of there not being a --
 9    did you say it was a backflow?
10           A.      That's what -- yes, it was --
11           Q.      Not -- so, there was no backflow system
12    and as a result of that, I'm assuming that there
13    were chemicals that were coming into the
14    environment that workers were breathing.                 Is that
15    the gist of the allegations?
16           A.      Yes.
17           Q.      And do you know which chemicals it was
18    that you were exposed to?
19           A.      I do not.
20           Q.      But it was your allegation at least in
21    that lawsuit that there were chemicals that you
22    were exposed to as a result of your employment at
23    Nicor that caused your non-Hodgkin's lymphoma?
24           A.      Yes.    That -- other people had gotten

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                           Gerard F. Cervantes

 1    sick, and just -- maybe not cancer, but illnesses.
 2    So, that's the only illness that I had.
 3           Q.      Do you know if other people that were
 4    part of that lawsuit developed or had non-Hodgkin's
 5    lymphoma?
 6           A.      I don't know about non-Hodgkin's
 7    lymphoma.      Some had cancer, but I don't know their
 8    specific.
 9           Q.      Do you know why the case was ultimately
10    dismissed?
11           A.      I do not know.        I just know it didn't go
12    anywhere.
13           Q.      Okay.    It never got to trial?
14           A.      No.
15           Q.      Do you remember the name of your
16    attorney?
17           A.      I do not know because, like I said, it
18    was a class action.         The other person who
19    spearheaded it used an attorney.
20           Q.      Okay.    Do you remember the name of the
21    person that spearheaded it?
22           A.      Let me think.       Bruce Brummel.
23           Q.      Brummel?
24           A.      Um-hmm.

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                           Gerard F. Cervantes

 1           Q.      B-r-u-m-e?
 2           A.      M-m-e-l.
 3           Q.      Okay.
 4           A.      And he is deceased.
 5           Q.      Do you know if the case would have been
 6    entitled Brummel vs. Nicor?
 7           A.      I really don't remember.           Can't recall.
 8    But I do know that he has passed away.
 9           Q.      He's passed away.         Okay.
10                   All right.      Have you ever filed for
11    bankruptcy?
12           A.      No.
13           Q.      Have you ever been arrested?
14           A.      No.
15           Q.      Ever been charged with committing a
16    crime?
17           A.      No.
18           Q.      Ever been convicted of committing a
19    crime?
20           A.      No.
21           Q.      All right.
22           MR. SHEPHERD:       Let's go ahead and mark this as
23    Exhibit 1.
24                         (WHEREUPON, G. Cervantes Deposition

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 1                          Exhibit No. 1 was marked for
 2                          identification:        Defendant Monsanto
 3                          Company's Fifth Amended Notice to
 4                          Take Oral and Videotaped Deposition
 5                          of Plaintiff Gerard Cervantes.)
 6    BY MR. SHEPHERD:
 7           Q.      Mr. Cervantes, the Court Reporter has
 8    handed you what we've marked as Exhibit 1 to your
 9    deposition.
10                   Have you seen this document before or
11    one similar to it?         This is the fourth version I
12    believe.      Fifth version.       Sorry.
13           A.      Yes.
14           Q.      Okay.    When did you see it?
15           A.      Been a while.
16           Q.      I'm sorry?
17           A.      It's been a while.
18           Q.      Okay.    But you have -- you did receive
19    it at some point it's your belief?
20           A.      Yes.
21           Q.      It's the Notice of your deposition.
22    It's really just a simple legal document that tells
23    us that there's going to be a deposition, where to
24    go, those sort of things.

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 1           Q.      And what was his title, if you recall?
 2           A.      Maintenance supervisor.
 3           Q.      Are there any co-workers with whom you
 4    worked with most frequently when you were at Nicor?
 5           A.      I'm sorry.      What was that?
 6           Q.      Were there any co-workers who you worked
 7    with most frequently while you were at Nicor?
 8           A.      Yes.
 9           Q.      Who -- what were their names?
10           A.      Norm Tatum, Rich Discianno, and Barbara
11    Draper.
12           Q.      And were Norm, Rich and Barbara on your
13    team?
14           A.      Yes.
15           Q.      Did they work under you or with you?
16           A.      Under me.
17           Q.      Do you know whether or not Norm, Rich
18    and Barbara, any of them were part of the class
19    action lawsuit?
20           A.      They were not.
21           Q.      And do you know why they were not?
22           A.      To my knowledge, never got sick.
23           Q.      Okay.    Now, I've seen or I saw in your
24    medical records that while you worked at Nicor you

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                           Gerard F. Cervantes

 1    were exposed to extensive amounts of asbestos.                     Is
 2    that right?
 3           A.      No.
 4           Q.      No.
 5           A.      Not extensive.
 6           Q.      Okay.    How much asbestos would you say
 7    you were exposed to?
 8           A.      I don't know how much.
 9           Q.      How were you exposed to asbestos while
10    working at Nicor?
11           A.      Management had informed us that some of
12    the old gas pipe was protected by a coating that
13    had some asbestos in it.
14           Q.      Okay.    And how often would you have been
15    exposed to that particular coating on that pipe?
16           A.      Not sure how often because there's
17    different material that we work with.                Some of the
18    gas mains are plastic and some are steel.
19           Q.      Okay.    Let me show you this.          I'm going
20    to mark it as Exhibit 2.
21                         (WHEREUPON, G. Cervantes Deposition
22                          Exhibit No. 2 was marked for
23                          identification:        4/22/16 medical
24                          record;

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                         Gerard F. Cervantes

 1                          Confidential-Cervantes-GCervantes-
 2                          DreyerMC-MD-000105 through 000107.)
 3    BY MR. SHEPHERD:
 4           Q.      Okay.    The Court Reporter has handed you
 5    Exhibit 2, Mr. Cervantes, which is just four pages
 6    of medical records.         Maybe not even four.          Three
 7    pages of medical records that we've received.                     For
 8    the record they're Bates Nos. DreyerMC-MD-105
 9    through 107.
10                   This is where I got the information
11    about the asbestos exposure.             But before we go
12    through those, let me ask you this.
13                   When you go to your physician, they ask
14    you for information regarding your history and your
15    current complaints.         Would you agree with that?
16           A.      Yes.
17           Q.      And it's important that you give them
18    accurate information so they can provide the
19    healthcare that you are seeking, right?
20           A.      Yes.
21           Q.      All right.      So, this is a record from
22    Dreyer Clinic, Inc.         Have you ever been a patient
23    there?
24           A.      Yes.

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 1           Q.      All right.       And if you look at the first
 2    page of Exhibit 2, you'll see up at the top
 3    right-hand corner your name there,
 4    Gerard F. Cervantes, correct?
 5           A.      Correct.
 6           Q.      And the date of birth on the -- just
 7    below that is               .    That's your date of birth,
 8    correct?
 9           A.      Correct.
10           Q.      All right.       And then the visit date is
11    April 22, 2016.
12                   Do you see that?
13           A.      Correct.
14           Q.      All right.       Now, if you look on the last
15    page of Exhibit 2, down three-quarters of the way
16    down, there's a section that says "PMH."
17                   Do you see that?
18           A.      Yes.
19           Q.      And I'll tell you I believe that stands
20    for Past Medical History.
21                   It says, "Large B-cell lymphoma,
22    primarily liver involvement, stage IIB/E, stage 4."
23                   Did I read that correctly?
24           A.      Correct.

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 1           Q.      And is that consistent with your
 2    recollection of your non-Hodgkin's lymphoma?
 3           A.      Correct.
 4           Q.      Below that it says, "Occ med."
 5                   Do you see that?
 6           A.      Yes.
 7           Q.      And it says, "Hazardous exposures -
 8    benzene/PCB/asbestos by 30 years."
 9                   Did I read that correctly?
10           A.      Correct.
11           Q.      Did you report to your doctor at the
12    Dreyer Clinic that you had been exposed to benzene,
13    PCB and asbestos for 30 years?
14           A.      That is what they asked me as far as
15    what we use at work and what I've used.
16           Q.      Now, let me give you.
17           MR. SHEPHERD:       Mark that as Exhibit 3 if you
18    would, please.
19                        (WHEREUPON, G. Cervantes Deposition
20                          Exhibit No. 3 was marked for
21                          identification:        5/25/16 medical
22                          record;
23                          Confidential-Cervantes-GCervantes-
24                          DreyerMC-MD-000108.)

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 1    BY MR. SHEPHERD:
 2           Q.      Mr. Cervantes, the Court Reporter has
 3    now handed you Exhibit 3, and this is another
 4    medical record from Dreyer Clinic.               You're the
 5    patient, right?        Gerard F. Cervantes is there on
 6    the first --
 7           A.      Correct.
 8           Q.      Top of the first page?
 9           A.      Correct.
10           Q.      And here the visit date is May 25 of
11    2016.
12                   Do you see that?
13           A.      Where do I see that at?
14           Q.      Just one line below your name.
15           A.      Oh.    Yes.
16           Q.      And then the note starts -- it's a
17    progress note signed by Karen M. Burgner.                 Do you
18    remember Dr. Burgner?
19           A.      Yes.
20           Q.      Is she somebody you saw at the Dreyer
21    Clinic?
22           A.      Correct.
23           Q.      How many times would you say you have
24    seen Dr. Burgner?         Is she your primary?

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 1           A.      She's my primary.         Once a year.
 2           Q.      All right.      So, below that it says,
 3    "Married."      Social history is "Married," correct?
 4    You were married?
 5           A.      Correct.
 6           Q.      "Retired from Nicor"?
 7           A.      Correct.
 8           Q.      "Running own lawn care business"?
 9           A.      Correct.
10           Q.      And then it says, "Extensive asbestos
11    exposure.      Also benzene exposures, PCB exposure
12    times 30 years."
13                   Did I read that correctly?
14           A.      That is correct.
15           Q.      Do you --
16           A.      And the 30 --
17           Q.      Go ahead.      I'm sorry.
18           A.      The 30 years would be minus three years
19    as a meter reader and three years as -- in
20    management.
21           Q.      Do you recall telling Dr. Burgner that
22    you had extensive asbestos exposure?
23           A.      Not extensive.        But as I stated to you,
24    the -- what they said was small traces of asbestos

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                         Gerard F. Cervantes

 1    that coated the pipe.          But I do not recall
 2    extensive.
 3           Q.      In your dealings with Dr. Burgner over
 4    the years, do you find that she's an accurate
 5    person?
 6           A.      To my knowledge, yes.
 7           Q.      Generally what you've told her over your
 8    time being her patient, she's reflected that back
 9    to you when you've talked about it.               Is that true?
10           A.      Yes.
11           Q.      Okay.    And you'll agree with me, at
12    least here, she wrote that you had extensive
13    asbestos exposure, correct?
14           A.      That's what she wrote.
15           Q.      And there is no way she would have known
16    that other than with -- other than having a
17    conversation with you.           Is that true?
18           A.      Yes.
19           Q.      Did you -- anyone go with you to your
20    doctor's appointments generally?
21           A.      Oncologist, yes.        Dr. Burgner, myself.
22           Q.      And who would have gone with you to your
23    oncologist?       Would that have been your wife?
24           A.      My wife.

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                           Gerard F. Cervantes

 1           Q.      Anyone other than your wife?
 2           A.      No.
 3           Q.      How were you exposed to PCB?            And you
 4    told me it was 30 years minus 6.              So, for 24 years,
 5    what was your exposure to asbestos while at Nicor?
 6           A.      Working on the main, the gas mains.
 7           Q.      And PCB stands for polychlorobiphenyl,
 8    right?
 9           A.      I believe so.
10           Q.      Do you know if polychlorobiphenyl is a
11    known human carcinogen?
12           A.      I do not.      Or don't recall.
13           Q.      Did you become aware of the dangers of
14    asbestos at some point?
15           A.      No training on it.         Just hearsay and
16    know that it's not anything that's good.
17           Q.      Do you know that asbestos has been known
18    to cause certain types of cancers?
19           A.      I've heard.
20           Q.      You have heard those TV commercials I'm
21    sure, right?
22           A.      Yes.
23           Q.      I don't think anybody has escaped those
24    TV commercials.

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                           Gerard F. Cervantes

 1                   When you worked around asbestos at the
 2    time that you were dealing with it, did you wear
 3    any sort of personal protective equipment?
 4           A.      No, because it was not brought to our
 5    attention for many years that there were traces of
 6    it in the coating.         So, we were not even
 7    knowledgeable of it.
 8           Q.      You also had told Dr. Burgner that you
 9    were exposed to benzene in your job, is that right?
10           A.      Correct.
11           Q.      How were you exposed to benzene?
12           A.      That's a product that was used to help
13    keep corrosion on the gas pipe once you disturb the
14    coating of it and then try to put it back into a
15    non-corrosive state.
16           Q.      How often would you say that you were
17    exposed to benzene on your job at Nicor?                 Was it
18    every time you touched a pipe?
19           A.      No.    Three times a week as when I was a
20    welder, but once I promoted out of that position
21    and I was a lead person, I didn't have to deal with
22    it much because I had a welder on the team and that
23    was -- on the crew and that was his job.
24           Q.      Did you become aware of the dangers of

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 1    benzene at some point?
 2           A.      Later as I worked there.
 3           Q.      At the time that you worked there and
 4    were being exposed to benzene three times a week
 5    for however many years, did you wear personal
 6    protective equipment to protect you from benzene
 7    exposures?
 8           A.      No because the company informed us that
 9    OSHA guidelines stated that it was not required
10    because of the short period of time that it was
11    used as well as outside where we work, the
12    ventilation was adequate and didn't need any of
13    that.
14           Q.      And who at the company would have
15    informed you of that information, that PPE wasn't
16    needed for benzene exposure because of the duration
17    and the places in which you were exposed?
18           A.      Training supervisors as well as
19    supervisors themselves I guess.
20           Q.      So, at least it was your understanding
21    from the training supervisors and the supervisors
22    itself that there was safe levels of benzene that
23    you could be exposed to and you were -- the benzene
24    you were exposed to was safe?

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 1           MS. FREDONA:       Objection; form.
 2    BY MR. SHEPHERD:
 3           Q.      Or at least safe enough that you didn't
 4    need to wear personal protective equipment.                  Is
 5    that correct?
 6           A.      Correct.
 7           Q.      All right.      And then PCBs, how were you
 8    exposed to PCBs in your work at Nicor?
 9           A.      Not really sure PCB.          Give me that
10    definition again.
11           Q.      I think it's polychlorobiphenyl.
12           A.      Not knowledgeable on that.
13           Q.      Okay.    Did you wear any PPE when you
14    were working as a welder or on the street
15    maintenance team at any point?
16           A.      While welding, other than welding
17    gloves, welding goggles, you know, cotton clothing.
18           Q.      But no respirator?
19           A.      No.
20           Q.      Do you work with -- did you work with
21    any other chemicals in the workplace at Nicor that
22    you're aware of?
23           A.      No.
24           Q.      Have you considered a lawsuit against

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 1    the -- either Nicor or the manufacturers of
 2    asbestos, benzene or PCBs that you used at Nicor
 3    for your cancer?
 4           A.      What was that again?
 5           MS. FREDONA:       Objection; form.
 6    BY MR. SHEPHERD:
 7           Q.      Have you considered a lawsuit against
 8    Nicor or any of the manufacturers of the benzene,
 9    PCB and asbestos used at Nicor?
10           MS. FREDONA:       Objection; form.
11    BY MR. SHEPHERD:
12           Q.      You can answer if you understand the
13    question.
14           A.      To my knowledge, that class action suit
15    was the water, but I don't know if anything else
16    was included in there.           I was a name that was added
17    to it.      I was not the person that spearheaded it.
18           Q.      Did you apply any pesticides when you
19    worked at Nicor?
20           A.      No.
21           Q.      Did you apply any insecticides or bug
22    spray when you worked at Nicor?
23           A.      No.
24           Q.      Did you apply any rodenticides when you

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 1    worked at Nicor?
 2           A.      I don't know what that is.
 3           Q.      Like rat poison?
 4           A.      No.
 5           Q.      Were you exposed to gasoline or diesel
 6    fuel while you worked at Nicor?
 7           A.      To fill up the equipment.
 8           Q.      How often would you say that you were
 9    exposed to gasoline fumes when you worked at Nicor?
10    Was it a daily basis?
11           A.      No.    As needed to fill up the machine or
12    the truck, but also the night garage, that was one
13    of their main requirements so that when we went out
14    to work in the morning for, let me say, to be
15    efficient, that was a basic thing that they didn't
16    want us to do.        The night garage fueled everything.
17           Q.      What -- help me understand the machine.
18    What machine would --
19           A.      A digging, a backhoe.          We used a backhoe
20    to dig in the ground to get to the underground
21    facility and pipes.
22           Q.      And were those fueled by gasoline or
23    diesel, do you know?
24           A.      The backhoe was diesel and the trucks,

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 1    to my knowledge, were gasoline.
 2           Q.      And whenever you were out on a job and
 3    you needed access to the pipeline for whatever
 4    reason, you'd use the backhoe?
 5           A.      Correct.
 6           Q.      There was a backhoe operator, though,
 7    you didn't actually operate it?
 8           A.      I was an operator.
 9           Q.      You were an operator?
10           A.      Yes.
11           Q.      Did you ever have any workplace injuries
12    while at Nicor?
13           A.      No.
14           Q.      Did you ever take medical leave outside
15    of the medical leave you took for non-Hodgkin's
16    lymphoma while you were at Nicor?
17           A.      Other than a cold or called in sick,
18    basic like that, no.
19           Q.      Were you ever disciplined or suspended
20    while at Nicor?
21           A.      No.
22           MR. SHEPHERD:       We have been going about an
23    hour.     Let's take a quick break, if that's okay
24    with you.

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 1           THE WITNESS:       Sure.
 2           MR. SHEPHERD:       All right.      Let's say --
 3           THE VIDEOGRAPHER:         The time is 9:56 a.m., and
 4    we're going off the video record.
 5                        (WHEREUPON, a recess was had
 6                          from 9:56 to 10:06 a.m.)
 7           THE VIDEOGRAPHER:         The time is 10:06 a.m., and
 8    we're back on the video record.
 9    BY MR. SHEPHERD:
10           Q.      Mr. Cervantes, if you would, could you
11    pull out Exhibit 3 again out of the stack there.
12    It's the single-page record there, the one dated
13    5/25/16.
14           A.      Got it.
15           Q.      So, we were reading here earlier.                 It
16    said, "Extensive asbestos exposure.               Also benzene
17    exposures, PCB exposure by 30 years."
18                   I want to focus on the next few lines.
19                   It says, "Co-worker also has history of
20    non-Hodgkin's lymphoma."
21                   Do you know which -- what's the name of
22    that co-worker, do you recall?
23           A.      Yes.    Gary Cichy.
24           Q.      How do you spell his last name?

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 1    says, "Working 50 hours a week."              Are you working
 2    50 hours a week somewhere other than Nicor?
 3           A.      Oh, no.     That was -- the 50 hours a week
 4    was because there's so much overtime involved.
 5           Q.      Okay.    But you retired in 2014 I
 6    thought?
 7           A.      Retired from 2014, but remember those
 8    five years I was not at the company.               I was being
 9    paid 50% of my base pay.
10           Q.      That was from 2009 to 2014?
11           A.      '14, correct.       I was not at the company
12    at all.
13           Q.      Okay.    But this medical record that we
14    are looking at is dated 2016.
15           A.      Okay.
16           Q.      And it's talking about harassment at
17    work from Mr. Adam, is your supposition, and you're
18    working 50 hours a week.
19                   And I guess my question is if you
20    retired from Nicor in 2014, why in 2016 are -- is
21    she noting that you are working 50 hours a week and
22    that you are being harassed by Mr. Adam?
23           A.      Well, I don't -- maybe she -- the only
24    thing I can think of is her dates are wrong.

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 1           Q.      Okay.
 2           A.      Everything there is correct until I left
 3    there in 2009.
 4           Q.      Okay.    So, you think that you took --
 5    Mr. Adam became your supervisor approximately 2007,
 6    2006, 2007?
 7           A.      Correct.
 8           Q.      And continued in that --
 9           A.      Until 2009.       I'm sorry.
10           Q.      And continued in that role until 2009?
11           A.      Um-hmm.
12           Q.      And at that point you were working 50
13    hours a week?
14           A.      40 hours a week.
15           Q.      Plus overtime?
16           A.      Plus overtime.        But when I came back to
17    the gas company after my initial first time of
18    cancer, my doctor gave me a written note that I
19    could only work 40 hours a week full time because
20    there was so much, I say, overtime because of
21    emergency situations that came up and I was too
22    weak to work all those extra hours.
23                   So, prior to that, yes, 50 hours a week,
24    60 hours a week; but once I came back to work, they

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 1    could only work me 40 hours a week.
 2           Q.      Okay.    And I know your initial -- and I
 3    don't have a lot of medical records or any medical
 4    records actually from your initial diagnosis, but
 5    that was in 2004?
 6           A.      Correct.
 7           Q.      How long were you out of work after that
 8    initial diagnosis and treatment?
 9           A.      Approximately two years.
10           Q.      So, you returned to work in
11    approximately 2006?
12           A.      July 24 of 2006.
13           Q.      Okay.    And you stayed working 40 hours a
14    week at that point as a supervisor on the street
15    maintenance crew, right?
16           A.      Not a supervisor.         As a lead person.
17           Q.      Lead person.       Sorry.
18           A.      Correct.
19           Q.      Until you took the 50% leave in 2009
20    when your cancer reoccurred?
21           A.      Correct.
22           Q.      And then from 2009 until 2014 you
23    received the 50% pay but you didn't actually go to
24    work at all?

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 1           A.      That is correct.
 2           Q.      When you retired in 2014, if you had
 3    been going to work or if you had gone back to work,
 4    would Mr. Adam have been your supervisor?
 5           A.      I would guess yes.         Supervisors get
 6    promoted, get repositioned all the time.                 So, I
 7    don't know when he was relocated, so to speak.
 8           Q.      All right.      Let's talk a little bit
 9    about other work other than Nicor.
10                   Best I can tell from looking at your
11    Plaintiff Fact Sheet and the records that I have,
12    including your Complaint, before working for Nicor
13    you worked for something called ASC Lawn Care.                     Is
14    that right?
15           A.      Correct.
16           Q.      Was that also known as Dr. J Lawn Care?
17           A.      Correct.
18           Q.      So, that was the same company, ASC and
19    Dr. J?
20           A.      Correct.
21           Q.      And you owned those -- that company?
22           A.      Correct.
23           Q.      When did you start that company?
24           A.      In 1998.

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 1           Q.      And it was a lawn care company?
 2           A.      Correct.
 3           Q.      What sort of things did the company do?
 4           A.      Maintenance work.         Not new lawn care.
 5                   So, the basic scope would be cutting
 6    grass, trimming bushes, putting down mulch, what we
 7    call bed edging, and at that initial time,
 8    maintaining weeds, weed control.
 9           Q.      And did this happen at residences or at
10    commercial properties?
11           A.      As we started out as residential and as
12    we grew, incorporated commercial properties also.
13           Q.      How much time did you spend in that job
14    over the years at ASC or Dr. J?
15           A.      From 1998 until present.           I still do
16    lawn care.
17           Q.      How many hours a week would you say you
18    work in lawn care?
19           A.      It varied from 20 hours a week to 40
20    hours a week.
21           Q.      And how -- what was the factor that
22    caused the variance in the number of hours that you
23    were working?
24           A.      As the company grew, more customers,

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 1    more clients.
 2           Q.      So, it started at 20 hours a week and
 3    now it's up to 40?
 4           A.      I work 30 to 40 hours a week now.
 5           Q.      And as the owner, are you the one that's
 6    actually doing the work or do you have crews that
 7    do that for you?
 8           A.      Very small company.         Myself, my
 9    daughter, my son-in-law, and if I have, say, a big
10    mulch job or something, I'll hire a high school
11    person.
12           Q.      Your -- when the company first started
13    back in 1998, was it just you?
14           A.      Myself.     We got started because my
15    daughter at the time was 14 years old and she
16    wanted to get a job.          And, so, I told her, "I'll
17    show you how to run your own company, your own
18    business, so that you don't ever have to work for
19    nobody."      So, it was her and I initially.
20           Q.      And when we were speaking earlier, you
21    indicated that you knew the properties at which you
22    worked over time.
23                   Do you have a recollection of all the
24    properties that you've worked at over time from '98

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 1    to present?
 2           A.      Most of them, yes.
 3           Q.      How many are there approximately?
 4           A.      Now or then?
 5           Q.      Let's talk about in total.
 6           A.      In total?
 7           Q.      Um-hmm.
 8           A.      Initially just small residential yards
 9    to get started and then going forward and growing.
10    I'd say at my busiest we had three nursing homes,
11    two large churches, and two good size subdivisions
12    that we would maintain their common area, and about
13    20 residential.
14           Q.      And where -- what time period was that
15    peak where you had that -- that level of business
16    going?
17           A.      That level of business?           '98 I started.
18    Let me think.        Probably '99.
19           Q.      And would you say that you maintained
20    that level of business from '99 to the present?
21           A.      No.    We've -- not that big anymore.
22           Q.      How long were you that big?            '99 to
23    when?
24           A.      Until I got sick in 2004.

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 1           Q.      Not for any particular company, just her
 2    own?
 3           A.      It's her own business.
 4           Q.      Do you have copies of the tax returns
 5    for ASC Lawn Care going back to 1998?
 6           A.      I don't know if I have them going back
 7    that far.
 8           Q.      You do have some of the tax returns for
 9    the company, though, in your possession?
10           A.      Either myself or my daughter does.
11           Q.      Is that anything that you've produced to
12    your counsel --
13           A.      No.
14           Q.      -- for the lawsuit?         No.
15                   Do you have any sort of -- going to kind
16    of sound weird -- but a document retention policy
17    for ASC Lawn?        In other words, do you keep your
18    documents for a certain amount of time and then
19    clear them out or is it kind of throw them in a
20    drawer and they stay there?
21           A.      Maybe five years going back.
22           Q.      So, other than you, your daughter, your
23    son-in-law, maybe some high school kids that you
24    hire from time to time, have there been any other

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 1    employees of ASC Lawn Care, to your recollection?
 2           A.      Yes.    In the busy time that I had told
 3    you, we had two employees probably, maybe, maybe
 4    three at the most.
 5           Q.      Do you recall any of their names?
 6           A.      I'm trying to think because it was such
 7    a long time ago.
 8           Q.      I understand.
 9           A.      Not at this time.         Hopefully they'll pop
10    up in my head.
11           Q.      If they do, just let us know and you can
12    put their names on the record.             Okay?
13           A.      Okay.
14           Q.      The employees that you did have at ASC,
15    including these two folks that you didn't know and
16    yourself and your daughter, were they W-2 employees
17    or did you give them 1099 miscellaneous, do you
18    recall?
19           A.      To my recall, treated them as an
20    independent contractor.
21           Q.      Okay.
22           A.      And, again, I didn't do the books at
23    that time.
24           Q.      If we want to see those books, the best

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 1    person for us to talk to would be Joyce.                 Is that
 2    right?
 3           A.      Yes, but I don't believe we have
 4    anything going back to 1998.
 5           Q.      Is Joyce still alive?
 6           A.      Yes.
 7           Q.      And she lives in Florida with Jim?
 8           A.      Yes.
 9           Q.      How did you and Jim get together to sort
10    of become partners in this business?
11           A.      When I moved into my house in '96, he
12    was a neighbor kitty-corner across the street and
13    we became friends.
14           Q.      It was in this job at ASC Lawn Care that
15    you allege you were exposed to Roundup, is that
16    right?
17           A.      We used the product, yes.
18           Q.      Did you work with any other chemicals
19    during your time at ASC Lawn Care?
20           A.      No.
21           Q.      No fertilizers, anything like that?
22           A.      No.
23           Q.      Do you use any other weed control
24    products?

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 1           A.      No.
 2           Q.      You said that you did a lot or you did
 3    mulching, is that right?
 4           A.      Correct.
 5           Q.      Where did you get your mulch?
 6           A.      Primarily from Montgomery Landscape.
 7           Q.      Do you know if that mulch was treated in
 8    any way with either pesticides or herbicides?
 9           A.      Not to my knowledge.          I just purchase
10    it.
11           Q.      Was it in bags or did you buy it in
12    bulk?
13           A.      Bulk.
14           Q.      Was it a particular type of mulch that
15    you normally use, black, cedar, red?
16           A.      Dark brown in color.
17           Q.      Okay.    I think you've answered these
18    questions sort of around and about, but I'm going
19    to ask them just so it's clear on the record.
20                   Did you apply any pesticides when you
21    worked at ASC Lawn Care?
22           A.      The only thing that we used for weed
23    control was Roundup.          I didn't use any fertilizer
24    myself or work with that at all.

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 1           Q.      Did you apply any insecticides or bug
 2    spray in your job at ASC?
 3           A.      No.
 4           Q.      How about any rodenticide, some rat
 5    poisoning or anything like that?
 6           A.      No.
 7           Q.      Did you actually push the mowers, use
 8    the weed eaters, those sort of things --
 9           A.      Correct.
10           Q.      -- on that job?
11                   Were those gas-powered or electric?
12           A.      Gas-powered.
13           Q.      So, to some degree you were exposed to
14    gasoline fumes in that job at ASC Lawn, would you
15    agree?
16           A.      Yes.    The equipment requires gasoline to
17    be used.
18           Q.      Did you ever have any workplace injuries
19    while you were at ASC Lawn Care?
20           A.      None.
21           Q.      Did you ever take medical leave while
22    you were at ASC Lawn Care?
23           A.      None.
24           Q.      Other than the non-Hodgkin's lymphoma

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 1           A.      Yes.    Partner, I can't stand TV.
 2           Q.      Was your TV watching always at night,
 3    back then, '98 to 2004?
 4           A.      Yeah, most of the time, in the, you
 5    know, early evening and weekends.              You know what I
 6    mean.
 7           Q.      You don't recall a specific Roundup
 8    advertisement, though.           Is that correct?
 9           A.      No, I couldn't give you one now other
10    than I know that they're on TV still.                And once we
11    determined that that's what we are going to use, I
12    don't -- I don't vary.           I don't go and get
13    different multiple products to use.
14                   Military keeps me or has trained me to
15    be very specific, very, how you say, my wife says
16    I'm so predictable.         Routine.
17           Q.      There is a way to do it and a way to do
18    it right and that's the way you do it, right?
19           A.      Correct.
20           Q.      Other than TV ads, did you see any other
21    type of advertisements, print, newspaper, anything
22    like that, that you can recall?
23           A.      No.    When you go into Home Depot, I
24    mean, I go -- if I'm going to get something for

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 1    weeding, I go to that section and they have their
 2    different products and go from there.
 3           Q.      Do you remember, and I know this was 22
 4    years ago, but do you remember any specifics about
 5    the advertisements that you saw that made you
 6    decide that Roundup was the way to go?
 7           A.      No.
 8           Q.      Other than the TV advertisements that
 9    you saw, was there anything else that influenced
10    your decision to use or go with Roundup back in
11    1998?
12           A.      No.
13           Q.      Now, I know we talked about your use of
14    Roundup in your lawn care business.               Did you also
15    use Roundup at your personal residences?
16           A.      Yes.    Roundup was our choice of product
17    for anything pertaining to killing weeds or killing
18    grass, whatever we needed to use.
19           Q.      I noticed on your Plaintiff Fact Sheet
20    and I think also in your Complaint, but don't hold
21    me on the Complaint, definitely on the Plaintiff
22    Fact Sheet, that you indicated you used Roundup
23    between 1998 and 2004.           Is that right?
24           A.      Correct.

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 1           Q.      Prior to 1998, you did not use it in
 2    your personal residences?
 3           A.      Yes, I did at home for personal
 4    reference.      But it was limited.
 5           Q.      When you say "limited," what do you mean
 6    by that?
 7           A.      Cut my grass, maintain my flower beds or
 8    whatever, and I do a lot of pulling of weeds.                    But
 9    I would spray them first, let them die and then we
10    pull them.
11           Q.      And would you use the ready-to-use at
12    your home when you used it back then?
13           A.      Correct.
14           Q.      So, let's step back, then.
15                   Outside of your commercial use, your use
16    at ASC Lawn, when did you first start using
17    Roundup, to your knowledge, at your personal
18    residences?
19           A.      When I purchased my first home on Spruce
20    Street.
21           Q.      Okay.    So, that would have been -- my
22    memory is already gone -- 1986, is that right?
23           A.      I believe that's what I said.             I'm not
24    sure.

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 1           Q.      '82.    1982.
 2           A.      '82 is when I purchased my first home.
 3           Q.      At Spruce Street you started using
 4    Roundup?
 5           A.      Correct.
 6           Q.      And you would have used the
 7    ready-to-use?
 8           A.      At that time, yes.
 9           Q.      So, that would have been generally
10    gallon jug, you think it's white, would have like a
11    hose maybe the diameter of a straw that would
12    connect to a trigger that you could point and use
13    on the weeds, is that right?
14           A.      Correct.
15           Q.      Did you always use the trigger to
16    actually apply the Roundup when you used it at your
17    home prior to 1998?
18           A.      Yes.
19           Q.      And you would use that on a -- on a spot
20    basis?
21           A.      Correct.
22           Q.      It wasn't applied in bulk, let's say?
23           A.      Correct.
24           Q.      If you bought your first gallon jug of

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 1    Roundup in 1982, can you give me an estimate of how
 2    many gallons you would have used up until 1998 when
 3    you started your lawn care business?
 4                   I mean did you use a gallon a season, a
 5    gallon a year, a gallon every five years?                 Just
 6    your best guess.
 7           A.      A couple gallons a season.
 8           Q.      And how many season -- so, does that
 9    mean you'd use eight a year or a spraying season
10    would be once a year?          I don't know what spraying
11    season is in Illinois.
12           A.      Season is from April till November.
13           Q.      Okay.    So, you'd use a couple gallons a
14    year basically?
15           A.      I would estimate that.
16           Q.      Estimate.
17                   I want to break down personal property
18    use, your houses, and then your work.                Okay?
19           A.      Okay.
20           Q.      For personal, you used herbicides like
21    Roundup to kill weeds around the house?
22           A.      Correct.
23           Q.      Did it work?
24           A.      Yes.    I would have went to another

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 1           Q.      After you went back to work at Nicor,
 2    there were times in which you had to go into the
 3    hole and you would wear a protective equipment, a
 4    respirator?
 5           A.      Correct.
 6           Q.      And that respirator would have organic
 7    vapor cartridges on it or cartridges on it?
 8           A.      Cartridges on it.
 9           Q.      Were you fit tested for the respirator?
10           A.      Correct.
11           Q.      You were?
12           A.      Correct, yes.
13           Q.      Somebody at Nicor fit tested you for it?
14           A.      Yes.
15           Q.      And you were trained on how to properly
16    put it on?
17           A.      Yes.
18           Q.      Did you ever wear a dosimeter when you
19    worked at Nicor?
20           A.      I don't know what that is.
21           Q.      Like a little badge that would
22    monitor how much --
23           A.      No.
24           Q.      -- exposure you have to certain

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 1    chemicals.
 2           A.      No.
 3           Q.      You continued to do lawn care work after
 4    your NHL diagnosis, correct?
 5           A.      Correct.
 6           Q.      But you never used Roundup again.                 Is
 7    that correct?
 8           A.      Don't use it.
 9           Q.      When did you first learn that your
10    co-worker -- I forget his name -- Gary --
11           A.      Cichy.
12           Q.      -- Cichy had NHL?
13           A.      I believe he got sick within a year
14    before I did I think.
15           Q.      And when you got NHL, did you and
16    Mr. Cichy at that time discuss the possibility that
17    maybe it was the chemicals at your work that had
18    led to your non-Hodgkin's lymphoma?
19           A.      No, not the chemicals at work.
20           Q.      What did you all discuss might have been
21    the cause of your non-Hodgkin's lymphoma?
22           A.      The water.      And he was a taxidermist.
23    So, he dealt with a lot of things there.                 So,
24    didn't know where it came from.

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 1           Q.      There is -- in your medical records,
 2    there are a number of instances in which it's
 3    indicated that your mother had non-Hodgkin's
 4    lymphoma and eventually died from it.                Is that
 5    correct?
 6           A.      Correct.
 7           Q.      I also saw, I believe in your Plaintiff
 8    Fact Sheet, that your mother had stomach cancer?
 9           A.      Well, we just called it stomach cancer.
10    It was non-Hodgkin's lymphoma located in her
11    stomach.
12           Q.      Okay.
13           A.      Example with me, I had non-Hodgkin's
14    lymphoma but it was all located in my liver.                     So,
15    sometimes you say liver cancer.
16           Q.      Gotcha.
17           A.      Easier than saying the long word.
18           Q.      You had what subtype of non-Hodgkin's
19    lymphoma?
20           A.      Large B-cell non-Hodgkin's lymphoma.
21           Q.      Do you know what type your mother had?
22           A.      I do not know.
23           Q.      Is there anyone that would know what
24    type of subtype your mother had?

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 1           A.      I could ask an older sister.
 2           Q.      Okay.
 3           A.      All I know is non-Hodgkin's lymphoma
 4    located in her stomach.
 5           Q.      One of your sisters may know; you're
 6    just not sure?
 7           A.      Correct.     I never went to any doctors
 8    visits with her.
 9           Q.      Is your father still alive?
10           A.      No, deceased.
11           Q.      Did you use any pesticides after your
12    NHL diagnosis?
13           A.      No, I don't use anything.
14           Q.      So, since being diagnosed with NHL, you
15    don't use anything to control weeds, chemical-wise,
16    is that right?
17           A.      I don't use anything.
18           Q.      How do you -- how do you deal with the
19    weeds that you used to deal with using Roundup
20    nowadays?
21           A.      At my home I use -- you know what a
22    weed-whacker is of course.            I use that and I just
23    trim it down to the ground.
24           Q.      And how about commercially?

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 1           A.      I don't -- if I were to take care of
 2    your property, I'd tell you right up front, "I'm a
 3    cancer survivor.        I don't use any granular or
 4    Roundup, weed killer.          So, that's not anything I
 5    can offer to you."
 6           Q.      When did you start making that statement
 7    to commercial customers?           Right when you went back
 8    in 2006?
 9           MS. FREDONA:       Objection; misstates the record.
10    BY MR. SHEPHERD:
11           Q.      Go ahead.
12           A.      When I went back afterwards, I'm trying
13    to think, 2006, yes, I just told them I don't offer
14    that service.
15           Q.      Okay.    So, starting in approximately
16    2006 when you finished your treatment for your
17    initial onset of non-Hodgkin's lymphoma, when you
18    were doing commercial jobs, you would specifically
19    tell the owners of the properties on which you were
20    doing those commercial jobs that you could not use
21    granular or Roundup or anything like that?
22           A.      Yes.    I did not use it.
23           Q.      Okay.    And that was because of you were
24    a cancer survivor?

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 1           A.      Correct.
 2           Q.      Have you ever spoken with anyone at
 3    Monsanto about how to use Roundup?
 4           A.      No.    Wouldn't even know how to get ahold
 5    of them.
 6           Q.      Have you ever communicated with any
 7    salesman or sales representatives from Monsanto?
 8           A.      No.
 9           Q.      Have you ever communicated with any
10    salesman or sales representatives at Home Depot or
11    Ace Hardware or any other place where you bought
12    Roundup about how to use it?
13           A.      No.
14           Q.      Have you ever communicated with anyone
15    at Monsanto about anything?
16           A.      No.
17           Q.      Did anyone or -- well, did anyone other
18    than you ever spray Roundup at your personal
19    properties?
20           A.      My house, I take care of the outside.
21           Q.      No one else ever did spray Roundup at
22    your house other than you?
23           A.      No.    They cut the grass, but not with
24    any Roundup.

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 1           Q.      Have you ever used a product called
 2    Eraser, to your knowledge?
 3           A.      Don't know what that is.
 4           Q.      Ever used a product called Buccaneer?
 5           A.      No.
 6           Q.      Ever used a product named Envy?
 7           A.      No.
 8           Q.      Ever used a product called Halex,
 9    H-a-l-e-x, GT?
10           A.      Never heard of that product in my life.
11           Q.      How about Flexstar GT?
12           A.      No.
13           Q.      Have you ever used a product called
14    Credit 41 Extra?
15           A.      No.
16           Q.      Do you change your own oil on your car?
17           A.      On my car?      Jiffy Lube.       No.   I'm sorry.
18           Q.      Do you do your own pest control at the
19    house or do you hire somebody to do that?
20           A.      It's hired help.
21           Q.      Do you have any sort of craftsman
22    hobbies, woodworking, painting, anything like that
23    that you do?
24           A.      None.    I exercise for fun, boxing,

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 1    skipping rope, working out.
 2           Q.      Do you do your own home repairs?
 3           A.      I'm not the most handy person.             As far
 4    as like electrical, no.           Can I paint?       Yes.    Can
 5    I -- but --
 6           Q.      How about plumbing?
 7           A.      No.
 8           Q.      Ever use primer solvent or glue for PVC
 9    pipe?
10           A.      No, I don't do any of that.
11           Q.      Do you build any furniture?
12           A.      No.
13           Q.      How about sawing, do you saw wood?
14           A.      No.    Not a carpenter at all.
15           Q.      Is it fair to say that in your lifetime
16    you've been exposed to welding torch fumes?
17           A.      I was a welder for three years at the
18    gas company, yes.
19           Q.      So, at least based upon what we've
20    talked about today, in addition to Roundup, you
21    have been exposed to, in some degree or another,
22    benzene, correct?
23           A.      Correct.
24           Q.      PCBs, correct?

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 1           A.      Correct.
 2           Q.      Gasoline exhaust, correct, or fumes,
 3    gasoline fumes?
 4           A.      From equipment.
 5           Q.      Diesel fuel, correct?
 6           A.      Correct.     It's there when I'm running
 7    the machine.
 8           Q.      Welding torch fumes, right?
 9           A.      For three years as a welder.
10           Q.      PCBs?
11           A.      It's -- yes.
12           Q.      Moving quick.
13                   Now, I told you this a little before.              I
14    don't have a lot of medical records from you prior
15    to maybe the last five or six years.               I'm not sure
16    exactly why.       I've asked my folks to follow up on
17    that and they are.         But I need to get a little bit
18    of background from you about your early medical
19    history because I just don't know it.                Okay?
20           A.      Okay.    Yes.
21           Q.      Did you have any serious health
22    conditions as a child or as a young adult?
23           A.      None.
24           Q.      Have you ever been diagnosed with any

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 1    cancer besides your NHL?
 2           A.      None.    2004 was the first time.
 3           Q.      No skin cancer, nothing like that?
 4           A.      None.
 5           Q.      Do you have any -- have you ever
 6    suffered from any immune deficiency?
 7           A.      None.
 8           Q.      Do you have or have you been diagnosed
 9    with lupus?
10           A.      None.
11           Q.      Have you ever been diagnosed with
12    Crohn's disease?
13           A.      None.
14           Q.      Have you ever been diagnosed with
15    ulcerative colitis?
16           A.      None.
17           Q.      Do you have rheumatoid arthritis, to
18    your knowledge?
19           A.      I have arthritis to my knowledge.
20           Q.      But not rheumatoid.         So you have
21    arthritis that goes with getting old, not arthritis
22    from your body's immuno system attacking itself,
23    right?      Do you know?
24           A.      Not sure what type it is.

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 1           Q.      Okay.    But you have arthritis?
 2           A.      Yes.
 3           Q.      Do you take any medications for your
 4    arthritis?
 5           A.      I take a nutritional supplement for
 6    anti-inflammatory, BiOmega fish oil.
 7           Q.      What is that called, do you know, the
 8    supplement that you take?
 9           A.      The product name is USANA.            That's the
10    company.
11           Q.      Okay.
12           A.      And then within that I take fish oil.              I
13    take a -- what they call Procosa for your joints
14    and Proflavanol is an anti-inflammatory.
15           Q.      And when did you start taking the USANA
16    products?
17           A.      In 2004, three months before I was
18    diagnosed because it took them three months to find
19    my cancer.      So, I was in search of anything to try
20    and get me healthy.
21           Q.      Have you ever been diagnosed with celiac
22    disease?
23           A.      No.
24           Q.      Do you have any ulcers or have you had

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 1           A.      No.
 2           MS. FREDONA:       Now I'm done.
 3           MR. SHEPHERD:       I'm done.      Thank you so much.
 4           THE VIDEOGRAPHER:         Okay.
 5           THE WITNESS:       Thank you.
 6           THE VIDEOGRAPHER:         The time is 3:01 p.m.           This
 7    is the end of Tape 3.          It's also the end of the
 8    deposition of Gerard Cervantes, and we're going off
 9    the video record.
10                         (WHEREUPON, the following
11                          proceedings were had off the video
12                          record:)
13           THE REPORTER:       Signature?      Reading and
14    signing?
15           MS. FREDONA:       Waived.
16                       (Time Noted:       3:01 p.m.)
17                   FURTHER DEPONENT SAITH NAUGHT.
18

19

20

21

22

23

24

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